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                                                                             USDC SDNY
                                                                             DOCUMENT
UNITED STATES DISTRICT COURT                                                 ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                DOC #: _________________
 ----------------------------------------------------------------------- X   DATE FILED: 8/5/2022
                                                                         :
 VALERIE DICKS, on behalf of herself and all others similarly :
 situated,                                                               :
                                                                         :   1:22-cv-6540-GHW
                                                 Plaintiff,              :
                                                                         :         ORDER
                              -against-                                  :
                                                                         :
 MICHAEL STARS, INC.,                                                    :
                                                                         :
                                                 Defendant.              :
                                                                         :
 ---------------------------------------------------------------------- X
GREGORY H. WOODS, United States District Judge:

         Plaintiff commenced this action on August 3, 2022, alleging that Defendant violated the

Americans with Disabilities Act because its website is not compatible with screen reader technology.

Dkt. No. 1 (“Compl.”) ¶¶ 1-5. The complaint alleges that venue is proper in this district in part

because “a substantial portion of the conduct complained of herein occurred in this District because

Plaintiff attempted to utilize, on a number of occasions, the subject Website within this Judicial

District.” Id. ¶ 13.

         Plaintiff alleges that Defendant is a California Corporation doing business in this State with

its principal place of business located at 12955 Chadron Ave, Hawthorne, CA 90250.” Id. ¶ 17.

Plaintiff is alleged to reside in “New York, State of New York.” Id. ¶ 15. However, there are

portions of “New York” that are not within the jurisdiction of Southern District of New York, but

are instead within the jurisdiction of the Eastern District of New York. See 28 U.S.C. § 112(c) (“The

Eastern District comprises the counties of Kings, Nassau, Queens, Richmond, and Suffolk . . . .”).

Without any other allegations as to the specific place of Plaintiff’s residence, there are no allegations

in the complaint describing the occurrence of events or the residence of any defendant in the

Southern District of New York. See 28 U.S.C. § 112(b) (“The Southern District comprises the
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counties of Bronx, Dutchess, New York, Orange, Putnam, Rockland, Sullivan, and Westchester . . .

.”).

       Plaintiff is ORDERED TO SHOW CAUSE no later than August 12, 2022 as to why this

action is appropriately venued in the Southern District of New York.

       Plaintiff is directed to serve a copy of this order on all Defendants in this action and to retain

proof of service.

        SO ORDERED.

  Dated: August 5, 2022
  New York, New York                                     __________________________________
                                                                GREGORY H. WOODS
                                                               United States District Judge




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